     Case: 1:20-cv-00271 Document #: 8 Filed: 04/09/20 Page 1 of 1 PageID #:111

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Sream, Inc., et al.
                                        Plaintiff,
v.                                                        Case No.: 1:20−cv−00271
                                                          Honorable Manish S. Shah
Lombard Smoke Zone Inc, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 9, 2020:


      MINUTE entry before the Honorable Manish S. Shah: The parties' status report is
now due 4/27/20. This schedule supersedes any extensions granted by the court's Second
Amended General Order 20−0012. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
